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              Exhibit A
                                        EEOC Received August 29, 2023
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                                                                                                         Charge Presented To:               Agency(ies) Charge No(s):
                       CHARGE OF DISCRIMINATION
                                                                                                                    FEPA
              This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
                     Statement and other information before completing this form.
                                                                                                                X EEOC 440-2023-09723
                                                           Illinois Department of Human Rights                                                                  and EEOC
                                                                             State or local Agency, if any


Name (indicate Mr., Ms., Mrs., Mx.)                                                                                    Home Phone (Incl. Area Code)             Date of Birth

Ms. Sandra Sexton
Street Address                                                                     City, State and ZIP Code                                Email Address


Street Address                                                                     City, State and ZIP Code                               Email Address
c/o Mohammed Badwan, Sulaiman Law Group, 2500 S. Highland Ave., #200, Lombard, IL 60148 mbadwan@sulaimanlaw.com
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                                   No. Employees, Members      Phone No. (Include Area Code)

Saint Xavier University                                                                                                        15+                (773) 298-3452
Street Address                                                                     City, State and ZIP Code                                     Email Address
3700 West 103rd Street                                                                       Chicago, IL, 60655-3105                                                            N/A
Name                                                                                                                   No. Employees, Members       Phone No. (Include Area Code)

                                                                                                                               15+
Street Address                                                                     City, State and ZIP Code                                     Email Address


DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                          DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                       Earliest                     Latest
           RACE                COLOR                 SEX                RELIGION                NATIONAL ORIGIN
                                                                                                                                7/2023                     7/2023
         ✔ RETALIATION                     AGE         ✔ DISABILITY                        GENETIC INFORMATION

                         OTHER (Specify below.)                                                                                                 CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
I, Sandra Sexton, was hired at Saint Xavier University as a dispatch officer on or around November 2014, until I was unlawfully terminated on or about July 31, 2023, on the
basis of my disability. I have a physical/mental impairment that substantially limits major life activities. Regardless of my disability, I was qualified to perform the essential
functions of my job, with or without reasonable accommodation.

The following is a non-exhaustive list of the disability discrimination, disability harassment, and retaliation I was subjected to:

On or about July 31, 2023, I was denied the necessary opportunities for lunch and breaks, which were part of my daily expectations. Unfortunately, the absence of these
provisions significantly impacts my disability, often leading to severe flareups that debilitate me. Regrettably, during my shift, I experienced one such flareup, which caused
significant illness related to my disability with approximately thirty minutes left. Recognizing my inability to continue, I promptly notified my direct manager, Christina Weiss,
about my deteriorating condition and requested to be excused.

Upon returning on my next scheduled workday, I was informed of my termination, a clear instance of discrimination against my disability. This action by the company is
troubling because it not only prevented me from accessing necessary accommodations throughout the day to address my disability but also resulted in my termination due
to a flareup.

In failing to provide the accommodations required to cater to my disability and subsequently terminating me due to a flareup, my employer effectively denied my request for
reasonable accommodation and therefore did not engage with me in an interactive process to determine the appropriate accommodation as required by the ADA.

Thus, I have been discriminated against because of my disability and retaliated against in violation of the Americans with Disabilities Act, as amended and (775ILCS 5/)
Illinois Human Rights Act.



I want this charge filed with both the EEOC and the State or local Agency, if any. I NOTARY – When necessary for State and Local Agency Requirements
will advise the agencies if I change my address or phone number and I will cooperate
fully with them in the processing of my charge in accordance with their procedures.
                                                                                     I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct.               the best of my knowledge, information and belief.
                                                                                                  SIGNATURE OF COMPLAINANT




  08 / 29 / 2023                    _____________________________________
                                                                                                  SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                                  (month, day, year)
 ________________________________

              Date                                Charging Party Signature




                                                                                                                Doc ID: 0a9ae37c40d829d80b9b8dc84fe94a1bd90aebb6
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CP Enclosure with EEOC Form 5 (11/09)


PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request personal
data and its uses are:

1. FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to writing
(whether later recorded on this form or not) are, as applicable under the EEOC anti-discrimination statutes
(EEOC statutes), to preserve private suit rights under the EEOC statutes, to invoke the EEOC's jurisdiction
and, where dual-filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence of matters covered by
the EEOC statutes (and as applicable, other federal, state or local laws). Information given will be used by
staff to guide its mediation and investigation efforts and, as applicable, to determine, conciliate and litigate
claims of unlawful discrimination. This form may be presented to or disclosed to other federal, state or local
agencies as appropriate or necessary in carrying out EEOC's functions. A copy of this charge will ordinarily
be sent to the respondent organization against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must
be reduced to writing and should identify the charging party and respondent and the actions or policies
complained of. Without a written charge, EEOC will ordinarily not act on the complaint. Charges under Title
VII, ADA, or GINA must be sworn to or affirmed (either by using this form or by presenting a notarized
statement or unsworn declaration under penalty of perjury); charges under the ADEA should ordinarily be
signed. Charges may be clarified or amplified later by amendment. It is not mandatory that this form be used
to make a charge.

                          NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges with EEOC
will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be first handled by a FEPA
under worksharing agreements. You will be told which agency will handle your charge. When the FEPA is the
first to handle the charge, it will notify you of its final resolution of the matter. Then, if you wish EEOC to give
Substantial Weight Review to the FEPA's final findings, you must ask us in writing to do so within 15 days of
your receipt of its findings. Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the
charge.

                                        NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is taken against
you or others who oppose discrimination or cooperate in any investigation or lawsuit concerning this charge.
Under Section 704(a) of Title VII, Section 4(d) of the ADEA, and Section 503(a) of the ADA and Section 207(f)
of GINA, it is unlawful for an employer to discriminate against present or former employees or job applicants,
for an employment agency to discriminate against anyone, or for a union to discriminate against its members
or membership applicants, because they have opposed any practice made unlawful by the statutes, or
because they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section 503(b) of the
ADA prohibits coercion, intimidation, threats or interference with anyone for exercising or enjoying, or aiding
or encouraging others in their exercise or enjoyment of, rights under the Act.




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                           Final EEOC Charge- Please review and sign
                           FINAL EEOC Charge Sandra Sexton.pdf
                           0a9ae37c40d829d80b9b8dc84fe94a1bd90aebb6
                           MM / DD / YYYY
                             Signed




       08 / 29 / 2023      Sent for signature to Sandra Sexton (sextonsj1@comcast.net)
       19:50:58 UTC        from cnieves@sulaimanlaw.com
                           IP: 50.221.176.242




       08 / 29 / 2023      Viewed by Sandra Sexton (sextonsj1@comcast.net)
       19:52:46 UTC        IP: 174.192.73.134




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       08 / 29 / 2023      The document has been completed.
       20:35:58 UTC
